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                      UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                    Criminal No. 12-26(2) (JRT/JSM)

                                 Plaintiff,

v.                                                          MEMORANDUM OPINION AND
                                                                   ORDER
SHAUN MICHAEL MARTINEZ,

                               Defendant.


      Andrew R. Winter and Steven L. Schleicher, Assistant United States
      Attorneys, UNITED STATES ATTORNEY’S OFFICE, 600 United
      States Courthouse, 300 South Fourth Street, Minneapolis, MN 55415, for
      plaintiff.

      Andrew S. Birrell and Paul C. Dworak, GASKINS, BENNETT,
      BIRRELL, SCHUPP, LLP, 333 South Seventh Street, Suite 2900,
      Minneapolis, MN 55402, for defendant.


      The   United   States    filed   a      superseding   indictment   against   Defendant

Shaun Michael Martinez and other defendants, alleging that Martinez is a member of the

Native Mob gang and engaged in a conspiracy to participate in racketeering activity,

among other crimes. United States Magistrate Judge Janie S. Mayeron issued a report

and recommendation (“R&R”) and an order addressing various motions filed by Martinez

and other defendants. (Docket Nos. 732, 727.) Martinez has filed objections to the

R&R’s recommendation that his motions to suppress evidence and statements be denied




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and to the order’s denial of his motion for severance. (Docket Nos. 782, 744.) The Court

will overrule Martinez’s objections.1


I.     MOTION TO SUPPRESS STATEMENTS

       A.      Standard of Review

       Martinez moves to suppress evidence stemming from his alleged statements on

November 11, 2011, and January 31, 2012.               He objects to the Magistrate Judge’s

recommendation that this motion be denied.              Because a motion to suppress is a

dispositive matter, the Court must conduct a de novo review of this objection. Fed. R.

Crim. P. 59(b); United States v. Bond, No. 10-CR-117, 2011 WL 2111743, at *1 (E.D.

Wis. May 26, 2011).


       B.      Factual Background

               1.     November 11, 2011 statements

       Investigator Terry Lee Nutter with the Minnesota Department of Corrections

Fugitive Unit of St. Paul, testified that on November 11, 2011, he assisted in the

apprehension of Martinez at his apartment in Richfield, Minnesota for a parole violation.

(Tr. 115-16.) Nutter transported Martinez to Hennepin County jail in the rear of an

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          Martinez withdrew his motion to suppress jail calls, motion to suppress undercover
statements, motion for the suppression of identification evidence, and motion to suppress wire
interceptions, electronic surveillance, and other evidence. In addition, Martinez initially moved
to suppress a statement he made to law enforcement on July 13, 2004 (mistakenly referred to as a
July 13, 2011 statement); the Court will deny this motion as moot based on the United States’s
representation to the Magistrate Judge that it would not use the statement at trial. These rulings
are in accordance with the recommendations of the Magistrate Judge, to which Martinez has
filed no objection.



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unmarked Chevy Tahoe, which included a cage for transportation. (Tr. 116.) The trip

took approximately ten minutes.         (Id.)    Martinez was handcuffed during the trip.

(Tr. 126.)

       During the transport, Martinez initiated a conversation with Nutter. (Tr. 117.)

During this conversation, Martinez made a number of statements regarding his

membership and association with the Native Mob and how he was sick of the gang life.

(Tr. 117-18.)        Martinez was not given Miranda warnings prior to making these

statements. (Tr. 127.)

       Nutter knew Martinez before this conversation because of his work with the

Minneapolis Police Department. (Tr. 127-28.) Nutter did not ask Martinez questions and

told him that he did not have to talk. (Tr. 117.) Specifically, Nutter did not ask Martinez

any questions regarding his criminal conduct. (Tr. 131.) Both Martinez and Nutter were

talking during the conversation. (Tr. 127, 131.) The conversation lasted approximately

five minutes and was completed when Nutter booked Martinez into jail. (Tr. 118.)


                2.      January 31, 2012 statements

       On the morning of January 31, 2012, Nutter and Investigator Jerome Wilhelmy

with the Minnesota Department of Corrections arrived at a Minnesota correctional

facility in Rush City, where Martinez was incarcerated, to transport Martinez to the

St. Paul federal courthouse for an appearance related to the indictment in the instant

matter.   (Tr. 68.)      Before arriving at the courthouse, the officers planned to bring

Martinez to the Bureau of Criminal Apprehension (“BCA”) office in St. Paul to have



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Martinez speak with Minneapolis homicide detectives regarding the homicide of Native

Mob member Jeremy Kraskey. (Tr. 68-69, 98.)

       When the officers picked up Martinez, they restrained him in handcuffs, a waist

chain, and leg irons. (Tr. 100.) They brought him to a garage, where Nutter read him his

Miranda warnings. (Tr. 70; see also United States Exs. 1, 2.) After Nutter read the

Miranda warnings, Martinez indicated that he understood his rights and agreed to give a

statement. (Tr. 121.) The officers taped a recorder under a seat in their police vehicle,

attempting to record any conversation that occurred without Martinez being aware of the

recording, but only a portion of the Miranda warnings and none of the rest of the

conversation was successfully recorded. (Tr. 69-70, 72, 108, 120.)2

       Martinez has previously been exposed to Miranda warnings. He had been read

these warnings twice in 1996, once in 1997, and once in 1998. (Tr. 67.) Martinez spoke

to the police in 1996 and 1997, but in 1998, Martinez requested a lawyer and did not

speak to the police. (Tr. 67-68.)

       The drive between Rush City and the BCA office took approximately forty-five to

fifty minutes. (Tr. 73.) Martinez thought that he was going to federal court because of an

indictment, and Wilhelmy confirmed to Martinez that he had been indicted federally for

racketeering. (Tr. 74, 101-102.) The officers told Martinez during the drive that he was

going to be speaking to some people and to keep his mind open, and that some of the

things that he would hear were going to shock him and upset him. (Tr. 73, 103-04, 122.)

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          Wilhelmy and Nutter speculated that further recording of their conversation did not
occur because, during the transport, the recorder flipped so that the recording side ended up
against the back seat. (Tr. 72, 108.)

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The officers did not specifically tell Martinez that he would be speaking to homicide

detectives. (Tr. 73.) Martinez did not originally realize that they would be stopping by

the BCA office on the way to federal court. (See Tr. 100-01.) Then, approximately ten

to fifteen minutes before reaching the BCA office, Nutter told Martinez that they would

be stopping at the BCA office. (Tr. 103.)

       During his conversation with Wilhelmy and Nutter, Martinez did not appear

intoxicated, was respectful, appeared nervous but not overly hyper, answered questions

appropriately, and appeared to be of average intelligence and to understand what was

occurring. (Tr. 73-75.) The officers made no threats to Martinez during the transport.

(Tr. 76.) Wilhelmy stated that, based on his previous contacts with Martinez, he had a

cordial and friendly relationship with him. (Tr. 97.) Martinez did not ask for any food,

water, medical assistance, or “anything physical” during the transport.           (Tr. 77.)

Martinez also did not ask for an attorney. (Id.)

       When the officers and Martinez arrived in the parking garage of the BCA office,

the officers let Martinez out of the truck, and Martinez asked for a cigarette. (Id.) The

officers got Martinez a cigarette and let him have it while he was in the garage. (Id.) The

officers did not talk to Martinez during the smoke, except to engage in small talk.

(Tr. 106.) Martinez made no incriminating statements in the garage. (Tr. 107.) Martinez

was visibly upset while he was smoking; he started tearing up, his eyes were red, and he

was sniffling. (Tr. 122-23.)

       When Martinez was done smoking the cigarette, he was escorted into a BCA

office approximately thirty feet from where the police vehicle had parked and he was


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introduced to the homicide investigators.      (Tr. 77-78.)   Specifically, Martinez was

introduced to BCA Special Agent Rogers and Detectives Christopher Gaiters and Bob

Dale from the Minneapolis Police Department. (Tr. 104.) Nutter notified these officers

that Martinez had been advised of his Miranda rights. (Tr. 123.)

       Wilhelmy and Nutter watched the interview of Martinez in a separate room

through a video feed. (Tr. 79, 124.) During breaks in questioning, Wilhelmy talked to

Martinez. (Tr. 79.) Wilhelmy stated that Martinez did not appear to be intoxicated and

that no promises or threats were made to him. (Id.) Nutter spoke with Martinez at points

during the interview, as well. (Tr. 124.) Nutter noted that Martinez appeared calm at the

beginning of the interview, but as the interview continued he became visibly nervous and

was shaking, fidgeting, and visibly crying and sniffling. (Tr. 125-26.)

       Gaiters, a sergeant and homicide investigator who was one of the interviewers at

the BCA office, testified that he did not give Martinez a Miranda warning prior to

questioning because he had been told by another officer that it had already been given to

him. (Tr. 136-37.) Without providing another Miranda warning, then, Sergeant Gaiters

proceeded to ask Martinez questions about the Kraskey homicide. (Tr. 137.)

       Gaiter described Martinez’s demeanor during the interview as somewhat calm,

clear, cooperative, and very intellectual. (Id.) Martinez did not exhibit any signs of

being intoxicated either through alcohol or controlled substances.          (Id.)   Martinez

appeared to understand the officer’s questions, he was aware of his surroundings, he

responded appropriately to questioning, and he exhibited no confusion. (Tr. 137-38.)

Gaiters testified that he did not threaten Martinez or promise him anything to keep him


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talking. (Tr. 138.) The officers allowed Martinez to use the restroom, drink coffee, and

have cigarettes and any other food or drink that he requested during the interview.

(Tr. 138-39.)

      Martinez asked for an attorney at the end of the three-and-a-half hour interview.

(Tr. 79-80.) Once Martinez made reference to an attorney, the substantive questioning in

the interview ended. (Tr. 124, 139-40; United States Ex. 4 at 189-97.)


      C.        Analysis

                1.    November 11, 2011 statements

      Martinez argues that the Court should suppress the statements he made to Nutter

on November 11, 2011, because they were result of a custodial interrogation made

without Miranda warnings. A person in police custody must receive Miranda warnings

before being subject to interrogation. United States v. Head, 407 F.3d 925, 928 (8th Cir.

2005). To determine whether an officer’s conduct amounts to interrogation, the standard

is whether the officer engaged in express questioning or its functional equivalent. Rhode

Island v. Innis, 446 U.S. 291, 300-01 (1980). This standard incorporates officers’ words

or actions, other than those normally incident to custody, which they should know are

reasonably likely to result in an incriminating response. Id. When a suspect in custody

makes spontaneous statements to an officer, no interrogation can be imputed to the

officer. United States v. Hayes, 120 F.3d 739, 744 (8th Cir. 1997) (“Miranda does not

protect an accused from a spontaneous admission made under circumstances not induced

by the investigating officers or during a conversation not initiated by the officers.”)



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(internal quotation marks omitted). Similarly, an officer need not give Miranda warnings

prior to engaging in polite conversation with a suspect, as long as there is no

interrogation. See, e.g., United States v. Tail, 459 F.3d 854, 858 (8th Cir. 2006) (“Polite

conversation is not the functional equivalent of interrogation.”).

       Here, Nutter testified that Martinez initiated the conversation with him, he never

asked Martinez any questions, and he told Martinez that he did not need to talk. The

Court thus concludes that Martinez’s statements were voluntary, and not the product of

an interrogation or its functional equivalent, and that there was no Miranda violation.

Accordingly, the Court will deny Martinez’s motion to suppress his November 11, 2011,

statements.


       2.     January 31, 2012 statements

       Martinez next argues that he did not receive a Miranda warning3 when he arrived

at the BCA office and, therefore, the Court should suppress the statements he made there.

Because Nutter provided Miranda warnings before Martinez’s transport to the BCA and

Martinez said he was willing to speak, the Court must determine whether this waiver was

knowing, intelligent, and voluntary as to the statements Martinez made at the BCA office.

       There are two distinct aspects of determining whether a Miranda waiver is

voluntary, knowing, and intelligent. First, the waiver “must have been voluntary in the

sense that it was the product of a free and deliberate choice rather than intimidation,

coercion, or deception.” United States v. Vinton, 631 F.3d 476, 483 (8th Cir. 2011)

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        The Court finds that Nutter gave Martinez a Miranda warning shortly after he arrested
Martinez on January 31.

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(internal quotation marks omitted). The second aspect of Miranda inquiry is whether the

defendant knowingly and intelligently waived his rights, id., meaning the defendant had

“a full awareness of both the nature of the right being abandoned and the consequences of

the decision to abandon it[,]” United States v. Turner, 157 F.3d 552, 555 (8th Cir. 1998)

(quoting United States v. Jones, 23 F.3d 1307, 1313 (8th Cir. 1994)). This second prong

does not require police coercion. Id. The United States has the burden to establish, by a

preponderance of the evidence, that a Miranda waiver was valid.          United States v.

Boslau, 632 F.3d 422, 429 (8th Cir. 2011).

      Here, the United States has established the first element of the Miranda waiver.

Martinez has made no allegations of police behavior that would rise to the level of

coercion, such as the use of threats or violence or the use of direct or indirect promises

that would overcome a defendant’s free will and capacity for self-determination. See

Sheets v. Butera, 389 F.3d 772, 778-79 (8th Cir. 2004). The fact that Martinez did not

originally know that the officers would bring him to the BCA office for an interview

related to a homicide did not constitute coercion that rendered Martinez’s waiver

involuntary. See Colorado v. Spring, 479 U.S. 564, 574-75 (1987); United States v.

Syslo, 303 F.3d 860, 865-66 (8th Cir. 2002); United States v. Andaverde, 64 F.3d 1305,

1312-13 (9th Cir. 1995).

      The United States has also established the second aspect of Miranda waiver, that

Martinez knowingly and intelligently waived his rights. Martinez argues, in essence, that

he did not have a full awareness of the nature of the right he abandoned and the

consequences of this decision because he did not know, at the time of his Miranda


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waiver, with whom he would be speaking or the topics they would discuss. The Court

finds otherwise because there was sufficient interconnectedness between the Miranda

warnings given to Martinez and Martinez’s interrogation at the BCA office.

       As a preliminary matter, the amount of time between the Miranda warning and the

BCA interrogation did not invalidate the waiver. An interval of time of forty-five to fifty

minutes between Miranda warnings and questioning is insufficient, in and of itself, to

invalidate a waiver. See United States v. Nguyen, 608 F.3d 368, 374-75 (8th Cir. 2010);

see also United States v. Boyd, 180 F.3d 967, 977 (8th Cir. 1999). Furthermore, the fact

that Martinez was not aware of all of the subjects on which he would be questioned at the

BCA office did not make his original waiver unknowing or unintelligent. Officers are

not required to inform defendants of each subject on which they might be questioned

because the Constitution “does not require that a criminal suspect know and understand

every possible consequence of a waiver of the Fifth Amendment privilege.” Spring, 479

U.S. at 574.4 Finally, the mere presence of a new interrogator or a new location does

require the re-advisement of Miranda rights, as long there is a sufficient connection

between the Miranda waiver and the new interrogation such that a defendant “must have

known that his rights had not materially changed[.]” Andaverde, 64 F.3d at 1312-13.

       Considering the totality of the circumstances here, the Court finds that re-

advisement of Martinez’s Miranda warnings was unnecessary because there was

sufficient interconnectedness between the warnings and the interrogation. See Wyrick v.

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        Here, Martinez knew that he had been federally indicted in connection with the Native
Mob. It was thus logical that he could be questioned about homicides and other activities with
which the Native Mob was associated.

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Fields, 459 U.S. 42, 48-49 (1982). Wilhelmy and Nutter informed Martinez of his rights,

told him that other people were about to question him on subjects that might upset him,

eventually told him that they were taking him to the BCA office, and were present at the

BCA office, including in the interrogation room at times, during the questioning. Under

these circumstances, there was a sufficient connection between the Miranda warnings

given to Martinez and his interrogation such that Martinez must have been aware that his

rights had not changed from the time when he was in the police vehicle to when he

reached the BCA office. Furthermore, Martinez knew that he was indicted on federal

charges related to the Native Mob and had previously been read his Miranda rights on at

least four occasions, further discrediting his claim that he did not knowingly and

intelligently waive his rights to be interrogated about alleged Native Mob activities like

the Kraskey homicide. See Vinton, 631 F.3d at 483 (considering a defendant’s previous

interactions with law enforcement when deciding that defendant waived his Miranda

rights). Accordingly, the Court will deny Martinez’s motion to suppress his statements.


II.    MOTION TO SUPPRESS EVIDENCE

       A.    Standard of Review

       Martinez next moves to suppress evidence stemming from search warrants for his

home executed on July 13, 2011. He objects to the Magistrate Judge’s recommendation

that the Court deny this motion. As above, because a motion to suppress is a dispositive

matter, the Court must conduct a de novo review of this objection.




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       B.     Analysis

       Martinez lodges a general objection that the Court must suppress evidence

obtained from the July 13 search of his residence based on the four corners of the search

warrant and application. A search warrant must be based upon a finding that there is

probable cause to believe that evidence of a crime will be found in the place searched.

See United States v. Proell, 485 F.3d 427, 430 (8th Cir. 2007). Probable cause exists if a

reasonable person could conclude that there is a “fair probability” that the object of the

search warrant may be found in the place searched. United States v. Fladten, 230 F.3d

1083, 1085 (8th Cir. 2000) (citing Illinois v. Gates, 462 U.S. 213, 238 (1983)). “Whether

probable cause to issue a search warrant has been established is determined by

considering the totality of the circumstances, and resolution of the question by an issuing

judge ‘should be paid great deference by reviewing courts.’” United States v. Grant, 490

F.3d 627, 631 (8th Cir. 2007) (quoting Gates, 462 U.S. at 236).

       The Court finds that a reasonable person could have concluded that there was a

“fair probability” that evidence of a crime would be found at Martinez’s apartment,

XXXX Cedar Avenue South.          The R&R described the warrant and the supportive

application for the search of XXXX Cedar Avenue South in detail. (See R&R at 42-44.)

The application for the warrant described Martinez’s involvement with the Native Mob

gang, complaints of heavy foot traffic and marijuana odor coming from Martinez’s

apartment, a dog sniff that alerted officers to the presence of narcotics in the apartment,

and evidence expected to be found related to drug dealing in the apartment. (Id.) Given

these facts, the Court finds that there was a “fair probability” that evidence of narcotics


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and gang activity would be found in Martinez’s apartment. The Court will, therefore,

deny Martinez’s motion to suppress evidence obtained as a result of the search.


III.    MOTION FOR SEVERANCE

        A.    Standard of Review

        Finally, Martinez moves to sever his trial from the other defendants’ trials.

Martinez objects to the Magistrate Judge’s order denying this motion. A district court’s

review of a magistrate judge’s order on a nondispositive matter is “extremely deferential.”

Roble v. Celestica Corp., 627 F. Supp. 2d 1008, 1014 (D. Minn. 2007); see also United

States v. Raddatz, 447 U.S. 667, 673 (1980).

        Citing no authority, Martinez objects that a motion for severance is a dispositive

motion and therefore the Magistrate Judge’s entry of an order on this issue was in error.

See D. Minn. L.R. 72.2. A “nondispositive matter” is defined as a pretrial matter “not

dispositive of a claim or defense[.]” Id. 72.2(a). The Court finds that Martinez’s motion

for severance was a nondispositive motion because it is not dispositive of a claim or

defense but would merely generate a separate trial on the same allegations and evidence.

See United States v. Ortiz, No. 08-CR-231, 2011 WL 1344213, at *1 (E.D. Wis. Apr. 8,

2011) (holding that a “motion to sever is a nondispositive pretrial motion”); United States

v. Potter, No. 3:09-CR-138, 2010 WL 2776327, at *1 (E.D. Tenn. July 14, 2010) (same).




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The Court will reverse such an order only if it is clearly erroneous or contrary to law. See

28 U.S.C. § 636(b)(1)(A); Fed. R. Crim. P. 59(a); D. Minn. LR 72.2(a).5


       B.     Analysis

       Martinez objects that it was an error to deny his motion for severance because of

“Bruton issues, spillover effect, jury confusion, and antagonistic defenses” that will

prejudice him and deny him a fair trial and because “[t]his prejudice has grown orders of

magnitude by the superseding indictment.”           (Def.’s Objection at 1, Aug. 20, 2012,

Docket No. 744.)

       Under Federal Rule of Criminal Procedure 8(b), defendants are properly joined “if

they are alleged to have participated in the same act or transaction, or in the same series

of acts or transactions, constituting an offense or offenses.” “Generally, the ‘same series

of acts or transactions’ means acts or transactions that are pursuant to a common plan or a

common scheme.” United States v. Wadena, 152 F.3d 831, 848 (8th Cir. 1998). “[I]t is a

well settled rule in [the Eighth C]ircuit that the propriety of joinder must appear on the

face of the indictment.” United States v. Bledsoe, 674 F.2d 647, 655 (8th Cir. 1982).

“Rule 8(b) requires that there be some common activity involving all of the defendants

which embraces all the charged offenses even though every defendant need not have

participated in or be charged with each offense.” Id. at 656. Courts must liberally

construe Rule 8(b). Id. at 655.


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         The Court’s conclusion on the motion to sever would be the same even if it had
reviewed this motion de novo.



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       The Court finds that the requirements of Rule 8(b) are met in this case. Martinez

is charged, along with his co-defendants, with knowing participation in an unlawful

RICO conspiracy. In Count 2, the defendants are charged with a conspiracy to use and

carry firearms during and in relation to a crime of violence. The remaining counts

involve acts that were allegedly committed in furtherance of or in conjunction with the

RICO conspiracy. Because the superseding indictment alleges that the acts taken by all

defendants were acts in furtherance of a RICO conspiracy, the Court concludes that all of

the accused criminal conduct stems from “the same series of acts or transactions,

constituting an offense” under Rule 8(b).6

       Federal Rule of Criminal Procedure 14 also applies to motions for severance. This

Rule permits the Court, in its discretion, to sever otherwise properly joined defendants or

offenses where a joint trial may result in prejudice to one of the defendants. Fed. R.

Crim. P. 14(a). There is a preference for joint trials and less drastic measures than

severance may suffice to alleviate the risk of prejudice. Zafiro v. United States, 506 U.S.

534, 537-39 (1993); see also United States v. Flores, 362 F.3d 1030, 1039 (8th Cir. 2004).

To grant a motion for severance, “the necessary prejudice must be severe or compelling.”

United States v. Pherigo, 327 F.3d 690, 693 (8th Cir. 2003) (internal quotation marks


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         See United States v. Gravatt, 280 F.3d 1189, 1191 (8th Cir. 2002) (“Persons charged in a
conspiracy or jointly indicted on similar evidence from the same or related events should be tried
together, even if each defendant did not participate in or was not charged with each offense.”);
United States v. Houston, 892 F.2d 696, 703 (8th Cir. 1989) (“[T]he initial joinder of the
defendants was proper pursuant to [Rule] 8(b) because the indictment charged all of the
defendants with participation in a single conspiracy and charged several of the defendants with
various substantive counts arising from the same conspiracy.” (footnote omitted)); see also
United States v. Darden, 70 F.3d 1507, 1527 (8th Cir. 1995) (“Each defendant may be held
accountable for actions taken by other defendants in furtherance of the [RICO] conspiracy[.]”).

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omitted). Prejudice is severe where the jury is incapable of compartmentalizing the

evidence or the defendants’ defenses are irreconcilable. United States v. Frank, 354 F.3d

910, 920 (8th Cir. 2004). In determining the jury’s ability to compartmentalize the

evidence, courts consider the complexity of the case and the adequacy of admonitions

and instructions of the trial judge. Pherigo, 327 F.3d at 693. Generally, “[p]ersons

charged in a conspiracy or jointly indicted on similar evidence from the same or related

events should be tried together, even if each defendant did not participate in or was not

charged with each offense.” United States v. Gravatt, 280 F.3d 1189, 1191 (8th Cir.

2002). Furthermore, “a court must weigh the inconvenience and expense of separate

trials against the prejudice resulting from a joint trial of codefendants.” Pherigo, 327

F.3d at 693.

       Martinez argues that he will be prejudiced by being associated with his co-

defendants, particularly because certain counts – including crimes of violence – do not

specifically involve him. Martinez has not identified evidence that the United States may

introduce that will prejudice his trial, however. See United States v. Garrett, 961 F.2d

743, 746 (8th Cir. 1992) (holding that a defendant “must make a showing of real prejudice

by demonstrating that the jury was unable to compartmentalize the evidence”) (internal

quotation marks omitted). The Court finds Martinez’s general concerns about the entry

of evidence of the Native Mob’s activities and crimes of violence to be an insufficient

basis to sever the trial. This is particularly true because Martinez himself is charged with

premeditated murder (including charges of murder in aid of racketeering and witness

tampering by murder), assault with a dangerous weapon in aid of racketeering, the use


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and carrying of a firearm during and in relation to a crime of violence, and tampering

with a witness (involving intimidating and threatening a witness), among other crimes.

Martinez’s allegation that he will somehow be prejudiced by being associated with

allegedly violent co-defendants is not a sufficient basis to sever the trial in light of the

crimes that he is personally alleged to have committed.

       Martinez further argues that the case is complex, which could confuse the jury.

However, the Court finds that the jury is unlikely to be confused and that “justice is best

served by trying the members of [this] racketeering enterprise together because a joint

trial gives the jury the best perspective on all of the evidence and therefore increases the

likelihood of a correct outcome.” See United States v. Darden, 70 F.3d 1507, 1527-28

(8th Cir. 1995) (internal quotation marks omitted).

       Martinez also alleges that his rights under Bruton v. United States, 391 U.S. 123

(1968)7 will be violated if his motion for severance is not granted. However, Martinez

has not identified any statements that would violate Bruton or otherwise be inadmissible

against him. Accordingly, the Court finds these arguments to be insufficient grounds on

which to grant the motion for severance. Of course, Martinez may object at trial to

evidence that he deems unduly prejudicial or otherwise inadmissible.

       Finally, the Court has weighed the inconvenience of having separate trials. This

case involves a long history of many acts allegedly committed by members of the Native

Mob. Having a joint trial under these circumstances “save[s] time and money for the

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         In Bruton, the Supreme Court held that the admission of statements from a nontestifying
defendant that inculpated a co-defendant violated the latter’s Confrontation Clause rights, despite
a curative instruction otherwise. 391 U.S. at 135-36.

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courts, prosecutors, and witnesses.” See Darden, 70 F.3d at 1527. This factor thus

weighs in favor of denying the motion for severance. Considering the factors discussed

above and the evidence presented, the Court will overrule Martinez’s objections to the

denial of his motion for severance.


                                      ORDER

      Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

      1.      Defendant’s Objections [Docket No. 744, 782] are OVERRULED.

      2.      The Magistrate Judge’s Order [Docket No. 727] is AFFIRMED.

      3.      The Report and Recommendation of the Magistrate Judge [Docket

No. 732] is ADOPTED.

      4.      Defendant’s Motion for Suppression of Identification Evidence [Docket

No. 335] is WITHDRAWN.

      5.      Defendant’s Motion to Suppress Statements [Docket No. 336] is DENIED

as follows:

              a.    Defendant’s Motion to Suppress Jail Calls is WITHDRAWN;

              b.    Defendant’s Motion to Suppress Undercover Statements is

      WITHDRAWN;

              c.    Defendant’s Motion to Suppress his July 13, 2004, Statement is

      DENIED as moot; and




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            d.    Defendant’s Motion to Suppress Statements made on November 11,

      2011, and January 31, 2012, is DENIED.

      6.    Defendant’s   Motion      to    Suppress      Wire    Interceptions,   Electronic

Surveillance, and Other Evidence [Docket No. 337] is WITHDRAWN.

      7.    Defendant’s Motion for Suppression of Evidence Obtained by Search and

Seizure [Docket No. 338] is DENIED.


DATED: December 12, 2012                            ____s/                      ____
at Minneapolis, Minnesota.                                JOHN R. TUNHEIM
                                                       United States District Judge




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